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                       *SEALED*      1 Filed
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                       *SEALED*      1 Filed
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                       *SEALED*      1 Filed
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                       *SEALED*      1 Filed
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Case Case 3:20-mj-05058-TLF
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                       *SEALED*      1 Filed
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                       *SEALED*      1 Filed
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Case Case 3:20-mj-05058-TLF
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                       *SEALED*      1 Filed
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                       *SEALED*      1 Filed
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Case Case 3:20-mj-05058-TLF
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                       *SEALED*      1 Filed
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Case Case 3:20-mj-05058-TLF
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